   Case: 23-60617     Document: 17-1     Page: 1   Date Filed: 01/18/2024




                      No. 23-60617
            IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FIFTH CIRCUIT


              SAUL ORTEGA AND DAVID ROGERS, JR.
                                              Petitioners,
                                    v.
              OFFICE OF THE COMPTROLLER OF THE
                          CURRENCY
                                             Respondent.

On Petition for Review of Final Decision of the Comptroller of the Currency
             Entered on December 1, 2023 by the Office of the
                       Comptroller of the Currency
              Case Nos. AA-EC-2017-44 and AA-EC-2017-45


PETITIONERS’ MOTION TO ABATE CASE OR EXTEND BRIEFING
    DEADLINES PENDING DISPOSITION OF SEC V. JARKESY


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       Case: 23-60617       Document: 17-1     Page: 2   Date Filed: 01/18/2024




                  CERTIFICATE OF INTERESTED PERSONS

       The undersigned counsel of record certifies that the following listed persons

and entities, as described in the fourth sentence of Fifth Circuit Rule 28.2.1 have an

interest in the outcome of this case. These representations are made in order that the

judges of this Court may evaluate possible disqualification or recusal.

Petitioners and affiliated entities:

Saul Ortega
David Rogers, Jr.
Texas National Bank, owned by a non-public holding company TNB Bancshares
   Inc., which has no parent company
First National Bank Edinburg, owned by non-public holding company First
   National Bank Group, Inc. which has no parent company
No public company owns 10% or more of either Texas National Bank, TNB
   Bancshares Inc., First National Bank Edinburg, or First National Bank Group,
   Inc.

Counsel:

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William D. Sims
Frank Brame

Respondent:
The Office of the Comptroller of the Currency
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                                          ii
       Case: 23-60617     Document: 17-1       Page: 3   Date Filed: 01/18/2024




Erin Healy Gallagher
Grant Swanson
Frank Salamone
Office of the Comptroller of the Currency

Administrative Law Judge
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Dated: January 18, 2024

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                                         iii
          Case: 23-60617            Document: 17-1            Page: 4        Date Filed: 01/18/2024




                                        TABLE OF CONTENTS
CERTIFICATE OF INTERESTED PERSONS .................................................. ii
INTRODUCTION ................................................................................................1
BACKGROUND ..................................................................................................2
 I.  Proceedings in This Case. .......................................................................2
   II.      Proceedings in Jarkesy (and Burgess). ...................................................4
LEGAL STANDARD ...........................................................................................5
ARGUMENT ........................................................................................................6
 I.  The Seventh Amendment Issue in this Case is the Same as Jarkesy (and
     Burgess) ..................................................................................................6
   II.      Good Cause Exists to Abate the Case Pending the Supreme Court’s
            Disposition of Jarkesy Because It Would Promote Judicial Economy
            and Efficiency and Serve the Parties’ Interests ......................................8
   III.     An Abatement Will Not Harm Anyone ..................................................9
CONCLUSION .................................................................................................. 10
CERTIFICATE OF CONFERENCE ................................................................. 11
CERTIFICATIONS OF ECF FILING STANDARDS ..................................... 12
CERTIFICATE OF SERVICE........................................................................... 13
CERTIFICATE OF COMPLIANCE ................................................................. 14




                                                         iv
          Case: 23-60617            Document: 17-1           Page: 5       Date Filed: 01/18/2024




                                    TABLE OF AUTHORITIES
Cases

Bank of Louisiana v. FDIC, 919 F.3d 916 (5th Cir. 2019) ........................................6

Boudreaux v. Schlumberger Tech. Corp., No. 22-30819 (5th Cir. Feb. 8, 2023), ....6

Brown v. U.S. Dep’t of Educ., No. 22-11115 (5th Cir. Dec. 2, 2022). .....................6

Burgess v. FDIC, 639 F. Supp. 3d 732 (N.D. Tex. 2022) .................................... 5, 7

Burgess v. FDIC, 2022 U.S. Dist. LEXIS 223387 (N.D. Tex. December 1, 2022) ..7

Burgess v. Whang, No. 22-11172, Order (Dkt. No. 143) (5th Cir. July 17, 2023).....2

Cardenas v. Stephens, 820 F.3d 197 (5th Cir. 2016).................................................6

De Souza v. Garland, No. 20-60931 (5th Cir. Dec. 10, 2020) ..................................6

DeOtte v. Nevada, 20 F.4th 1055 (5th Cir. 2021); ....................................................6

Henderson v. Thaler, 626 F.3d 773 (5th Cir. 2010). .................................................6

Heston v. Austin Indep. Sch. Dist., No. 22-50295 (5th Cir. Mar. 17, 2023), ............6

Jarkesy v. Sec. & Exch. Comm’n, 34 F.4th 446 (5th Cir. 2022), cert. granted, 143
  S. Ct. 2688 (2023)......................................................................................... passim

Landis v. N. Am. Co., 299 U.S. 248 (1936) ...............................................................6

Robinson v. Ardoin, 37 F.4th 208 (5th Cir. 2022) .....................................................6

Rodriguez v. City of Houston, 428 F. App’x 367 (5th Cir. 2011) .............................6

SEC v. Jarkesy, 143 S. Ct. 2688 (2023) .................................................................1, 4

United States v. Arteaga, 436 F. App’x 343 (5th Cir. 2011) .....................................6

United States v. Marrufo, No. 22-50956 (5th Cir. May 18, 2023) ............................7

                                                         v
          Case: 23-60617            Document: 17-1           Page: 6       Date Filed: 01/18/2024




Venable v. Smith Int’l, Inc., No. 22-30227 (5th Cir. July 5, 2022) ...........................6

Villatoro-Avila v. Holder, 622 F. App’x 451 (5th Cir. 2015)....................................6

Whole Woman’s Health v. Paxton, No. 17-51060 (5th Cir. Mar. 13, 2019) .............6

Whole Woman’s Health v. Phillips, No. 18-50730 (5th Cir. Oct. 7, 2019) ...............6


Statutes

U.S. CONST., amend. VII.................................................................................. passim

12 U.S.C. § 1818(e) & (i). .....................................................................................2, 5




                                                        vi
       Case: 23-60617     Document: 17-1      Page: 7   Date Filed: 01/18/2024




      Pursuant to Federal Rule of Appellate Procedure 27 and Fifth Circuit Rule

27.1.3, Petitioners Saul Ortega and David Rogers, Jr. respectfully move the Court to

abate this case or, alternatively, extend all briefing deadlines, pending the United

States Supreme Court’s disposition of SEC v. Jarkesy, No. 22-859. Jarkesy has been

fully briefed and argued, and a decision is expected in or before June 2024. See

Jarkesy v. Sec. & Exch. Comm’n, 34 F.4th 446 (5th Cir. 2022), cert. granted, 143 S.

Ct. 2688 (2023). Respondent has stated that it takes no position on the relief sought

in this motion.

                                INTRODUCTION

      On November 29, 2023, the Supreme Court heard argument in SEC v. Jarkesy,

in which the court considered whether the SEC’s in-house agency adjudications

violate the Seventh Amendment of the Constitution. The question presented in

Jarkesy is directly relevant to this Petition for Review. Here, the Comptroller of the

Currency (“Comptroller”) decided Petitioners’ case via its in-house adjudication

system without a jury, just as in Jarkesy. Petitioners are making the same Seventh

Amendment challenge to the Comptroller’s proceeding. Given that the Supreme

Court’s forthcoming decision in Jarkesy will likely guide the outcome in this case

and may be dispositive, Petitioners respectfully submit that the appropriate course is

to abate this matter temporarily, or to extend all briefing deadlines, to allow the

parties to submit their briefs in light of the Supreme Court’s Jarkesy decision.


                                          1
           Case: 23-60617      Document: 17-1   Page: 8   Date Filed: 01/18/2024




Otherwise, the parties will file, and this Court will spend time reviewing, briefs that

may soon be out of date and will have to be supplemented. In the past, this Court

has abated cases on many occasions to conserve the limited resources of the Court

and the parties. See footnote 14, infra.

           In fact, this Court has abated Burgess v. Whang, in light of Jarkesy for

precisely the same reason as Petitioners seek in this motion. See Burgess v. Whang,

No. 22-11172, Order (Dkt. No. 143) (5th Cir. July 17, 2023). Both Burgess and

Petitioners had their cases decided by the same ALJ under the same statutory

framework, and it makes sense to abate this case for the same reasons.

                                     BACKGROUND

      I.      Proceedings in This Case.

           On September 25, 2017, the Comptroller brought charges against two non-

lenders, Ortega and Rogers, for a bank’s lending activities during the financial crisis

many years ago. The Comptroller sought civil money penalties and also sought to

ban both Ortega and Rogers from working in the banking industry. 1 See 12 U.S.C.

§ 1818(e) & (i). The case was assigned to the Comptroller’s in-house agency

adjudication system, the Office of Financial Institution Adjudication (“OFIA”).

OFIA handles agency cases for the Comptroller, the FDIC, the Federal Reserve, and

the National Credit Union Administration.


1
    See Ex. A (Notice of Charges).
                                            2
        Case: 23-60617       Document: 17-1        Page: 9    Date Filed: 01/18/2024




       An 11-day hearing took place beginning on January 31, 2022 before

Administrative Law Judge (“ALJ”) Jennifer Whang. On September 30, 2022, the

ALJ issued her Recommended Decision.2 Among other rulings, the ALJ issued civil

money penalties against both Petitioners, but determined that the Comptroller failed

to meet its burden to ban Ortega from banking. 3

       Both the Comptroller and Petitioners appealed the Recommended Decision to

the Comptroller. 4     Following these appeals, the Comptroller reached its Final

Decision on December 1, 2023. 5 The Comptroller reversed the ALJ and banned

both Petitioners from banking and issued a civil money penalty of $250,000 against

each of them.

       Before the Recommended Decision was issued, Petitioners objected to the

proceeding under the Seventh Amendment and Jarkesy, for failure to afford

Petitioners a jury trial. 6 In their exceptions to the Comptroller, Petitioners again

objected to the proceeding on the same grounds. 7 The ALJ and the Comptroller

overruled these objections.8


2
  See Ex. B (Recommended Decision).
3
  Id.
4
  See Ex. C (Respondents’ Exceptions to the Administrative Law Judge’s Recommended Decision,
Supporting Brief and Request for Oral Argument). Excerpts of pages 26-28 of Exhibit C have been
redacted because the Comptroller has requested they be sealed and the pages do not relate to the
issues raised in this Motion.
5
  See Ex. D (Final Decision).
6
  See Ex. E (Demand For Jury Trial)
7
  See Ex. C at 3, 61-65.
8
  Ex. D at 26.
                                               3
          Case: 23-60617     Document: 17-1       Page: 10   Date Filed: 01/18/2024




          Petitioners filed their Petition for Review in this Court on December 1, 2023.

    II.      Proceedings in Jarkesy (and Burgess).

          In 2013, the Securities and Exchange Commission (“SEC”) initiated an in-

house enforcement proceeding against George Jarkesy. Seven years later, the SEC

issued an order requiring Jarkesy to pay civil monetary penalties and to cease

involvement with securities-related activities. Jarkesy, 34 F.4th at 450. Jarkesy filed

a petition for review of the SEC’s order in this Court. In May 2022, this Court issued

a published opinion holding that, among other things, the SEC proceeding violated

the Seventh Amendment because the agency was seeking civil monetary penalties

in a forum where the respondent did not have a right to a jury, 34 F.4th at 451-59.

This Court vacated the SEC’s decision. See id. at 465-66.

          The Solicitor General filed a petition for a writ of certiorari in Jarkesy on

March 8, 2023. The Supreme Court granted the Solicitor General’s Petition on June

30, 2023, 143 S. Ct. 2688 (2023), and heard argument on November 29, 2023. The

first and primary issue before the Supreme Court is “Questions Presented 1. Whether

statutory provisions that empower the [SEC] to initiate and adjudicate administrative

enforcement proceedings seeking civil penalties violate the Seventh Amendment.”9

A ruling is expected sometime in or before June 2024.



9
 See Brief For the Petitioner at I, Aug. 28, 2023, SEC v. Jarkesy, No. 22-859, in the Supreme
Court of the United States.
                                              4
       Case: 23-60617       Document: 17-1       Page: 11   Date Filed: 01/18/2024




       Burgess, similarly, involves an in-house agency proceeding by the FDIC

against Cornelius Campbell Burgess which began in 2014. 10 In 2022, ALJ Whang,

the same ALJ who presided over Petitioners’ proceeding, issued a decision banning

Burgess from banking and assessing a civil money penalty.11 That case was brought

under the same statutes (12 U.S.C. § 1818(e) & (i)) and regulatory regime as in

Petitioners’ case. 12 Before the FDIC reached a decision, Burgess sought to enjoin

further proceedings because, among other things, the proceeding violated the

Seventh Amendment and was inconsistent with the ruling in Jarkesy. Burgess v.

FDIC, 639 F. Supp. 3d 732, 739 (N.D. Tex. 2022). The District Court agreed. See

id. at 747-50 (preliminary injunction granted against FDIC proceeding for failing to

guarantee Seventh Amendment jury trial, finding Petitioner had a likelihood of

success on the merits). The government appealed the ruling of the U.S. District

Court, and this Court stayed all further proceedings pending the outcome in

Jarkesy. 13

                                 LEGAL STANDARD

       This Court has discretion to “stay further proceedings in appeals” when good

cause for that relief is shown. Fifth Circuit R. 27.1.3; see id. R. 34.6 (cases may be


10
   See Principal and Response Brief of Appellee/Cross-Appellant Cornelius Campbell Burgess,
March 31, 2023, (Dkt. No. 63), Burgess v. Whang, No. 22-11172, In the United States Court of
Appeals for the Fifth Circuit.
11
   Id. at 12.
12
   Id. at 6-12.
13
   Burgess v. Whang, No. 22-11172, Order (Dkt. No. 143) (5th Cir. July 17, 2023).
                                             5
          Case: 23-60617      Document: 17-1        Page: 12     Date Filed: 01/18/2024




continued for “good cause shown”). “[T]he power to stay proceedings is incidental

to the power inherent in every court to control the disposition of the causes on its

docket with economy of time and effort for itself.” Landis v. N. Am. Co., 299 U.S.

248, 254-55 (1936). When considering motions to hold appeals in abeyance, this

Court “weigh[s] competing interests and maintain[s] an even balance,” id., and will

consider factors such as “judicial economy” and whether a stay would “serve the

parties’ interests.” Robinson v. Ardoin, 37 F.4th 208, 231 (5th Cir. 2022) (per

curiam). In recent years, this Court has placed appeals into abeyance pending

disposition of a related Supreme Court case on many occasions.14

                                        ARGUMENT

     I.      The Seventh Amendment Issue in this Case is the Same as Jarkesy (and
             Burgess).
          Petitioners were entitled to have this case submitted to a jury under the

Seventh Amendment of the United States Constitution, for the same reasons and on


14
   See, e.g., Order, United States v. Marrufo, No. 22-50956 (5th Cir. May 18, 2023), ECF 66-2;
Order, Heston v. Austin Indep. Sch. Dist., No. 22-50295 (5th Cir. Mar. 17, 2023), ECF 59-2; Order,
Boudreaux v. Schlumberger Tech. Corp., No. 22-30819 (5th Cir. Feb. 8, 2023), ECF 27-2; Order,
Brown v. U.S. Dep’t of Educ., No. 22-11115 (5th Cir. Dec. 2, 2022). ECF 84; Order, Venable v.
Smith Int’l, Inc., No. 22-30227 (5th Cir. July 5, 2022); DeOtte v. Nevada, 20 F.4th 1055, 1063 (5th
Cir. 2021); Order, De Souza v. Garland, No. 20-60931 (5th Cir. Dec. 10, 2020), ECF 23-2; Order,
Whole Woman’s Health v. Phillips, No. 18-50730 (5th Cir. Oct. 7, 2019) (per curiam); Order,
Whole Woman’s Health v. Paxton, No. 17-51060 (5th Cir. Mar. 13, 2019) (per curiam); Bank of
Louisiana v. FDIC, 919 F.3d 916, 921 (5th Cir. 2019); Cardenas v. Stephens, 820 F.3d 197, 200
(5th Cir. 2016); Villatoro-Avila v. Holder, 622 F. App’x 451, 452 (5th Cir. 2015) (per curiam);
United States v. Arteaga, 436 F. App’x 343, 350 (5th Cir. 2011); Rodriguez v. City of Houston,
428 F. App’x 367, 368 (5th Cir. 2011) (per curiam); Henderson v. Thaler, 626 F.3d 773, 777 (5th
Cir. 2010).

                                                6
          Case: 23-60617       Document: 17-1        Page: 13   Date Filed: 01/18/2024




the same basis as this Court’s decision in Jarkesy v. Sec. & Exch. Comm’n, 34 F.4th

446. This proceeding seeks recovery of civil penalties,15 the same type of claim that

Jarkesy squarely holds is entitled to a jury. Id. at 451-59. As Jarkesy notes,

Congress cannot eliminate a party’s Seventh Amendment rights by merely relabeling

a cause of action as a statutory one and placing exclusive jurisdiction in an

administrative agency. Id. at 457. Accordingly, as in Jarkesy, it was error to deny

Petitioners a jury trial. Id. at 451 (“civil juries in particular have long served as a

critical check on government power.”); Burgess v. FDIC, 639 F. Supp. 3d at 747-

50; Burgess v. FDIC, 2022 U.S. Dist. LEXIS 223387, *5-6 (N.D. Tex. December 1,

2022).

          And while the SEC and the OCC/FDIC use a different statute to carry out their

in-house judicial system with jury-less ALJs, a district court in this Circuit has

already held that the rationale in Jarkesy is controlling in a case brought under 12

U.S.C. § 1818. Burgess v. FDIC, 639 F. Supp. 3d at 747-50. There is no meaningful

difference between this case and Jarkesy when it comes to the Seventh Amendment.

          Jarkesy and the Solicitor General have teed up the Seventh Amendment issue

at the Supreme Court. Both parties in Jarkesy identified whether in-house agency

adjudications violate the Seventh Amendment as their first “Question Presented” to

the Court. See Brief For the Petitioner at I, Aug. 28, 2023, SEC v. Jarkesy, No. 22-


15
     Ex. A (Notice of Charges); Ex. D (Final Decision).
                                                 7
           Case: 23-60617      Document: 17-1       Page: 14     Date Filed: 01/18/2024




859, in the Supreme Court of the United States; Brief For Respondents at i, Oct. 11,

2023, SEC v. Jarkesy, No. 22-859, in the Supreme Court of the United States. 16 It

is therefore likely that the Supreme Court’s decision will have a significant bearing

on the outcome of this case and may be dispositive.

     II.      Good Cause Exists to Abate the Case Pending the Supreme Court’s
              Disposition of Jarkesy Because It Would Promote Judicial Economy
              and Efficiency and Serve the Parties’ Interests.

           Good cause exists for a temporary abatement of this case. It would make little

sense for the Court to review the jury issue now that the Supreme Court is poised to

provide new guidance on how the Seventh Amendment applies to agency

enforcement proceedings. Petitioners respectfully suggest that the best course is to

abate the case awaiting the decision and opinion in Jarkesy. In prior cases, including

Burgess, the Court has done exactly that.17

           If this Court accepts and studies the parties’ briefing before Jarkesy is decided,

this would likely be an inefficient use of the Court’s and the parties’ resources

because the briefing will likely need to be supplemented and the work of the Court

and its law clerks may need to be repeated.



16
   Similarly, this same issue is before this Court in Burgess. See Principal and Response Brief of
Appellee/Cross-Appellant Cornelius Campbell Burgess at 6, March 31, 2023, (Dkt. No. 63),
Burgess v. Whang, No. 22-11172, In the United States Court of Appeals for the Fifth Circuit (Issues
presented for review include “Whether the District Court erred by granting a preliminary
injunction as to Count 3, which alleges that the Enforcement Proceeding violates the Seventh
Amendment by depriving Burgess of his right to a trial by jury.”)
17
   See, supra., note 14.
                                                8
      Case: 23-60617      Document: 17-1       Page: 15   Date Filed: 01/18/2024




      In addition, there are significant, complex issues in this appeal unrelated to

the Seventh Amendment, especially the statute of limitations. This proceeding

against Petitioners was the result of a self-serving, unhinged interpretation of the

five-year statute of limitations in which the Comptroller, acting as both prosecutor

and decisionmaker, banned Petitioners from the banking industry because of loans

made in 2009 even though the Comptroller waited until 2017 to commence this

proceeding. If Jarkesy is decided in Petitioners’ favor, the Comptroller may decide

to dismiss its claims, mediate or settle the case, or otherwise take steps that would

obviate the need for this Court having to wade through the other reversible errors

that occurred in this complex case. For this reason, an abatement would further save

this Court’s and the parties’ scarce resources and promote judicial economy.

      For these reasons, good cause exists for an abeyance or stay of the briefing

schedule.

   III.      An Abatement Will Not Harm Anyone.

      An abatement will not harm the Comptroller or the public interest. Without a

stay, the parties would still need additional time to update their briefing in light of

the Supreme Court’s decision and this Court would still need additional time to

consider the Supreme Court’s decision. Therefore, it is not likely that this case

would be resolved any more quickly without an abatement. An abatement would

simply conserve this Court’s and the parties’ resources.


                                           9
      Case: 23-60617      Document: 17-1        Page: 16   Date Filed: 01/18/2024




                                  CONCLUSION

      For the reasons stated, Petitioners respectfully request that the Court abate this

case pending the resolution of Jarkesy or, alternatively, extend all briefing deadlines

until after an opinion in Jarkesy is issued. Petitioners also request such other and

further relief to which they may be justly entitled.


Dated: January 18, 2024
                                      Respectfully submitted,

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                                            COUNSEL FOR PETITIONERS
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     Case: 23-60617      Document: 17-1        Page: 17   Date Filed: 01/18/2024




                          CERTIFICATE OF CONFERENCE
      I hereby certify that, on January 18, 2024, I conferred with Hannah Hicks,

Counsel for the Comptroller of the Currency, who indicated that the Comptroller

take no position on the relief sought herein.

                                      /s/ Frank C. Brame
                                      Counsel for Petitioners




                                          11
      Case: 23-60617     Document: 17-1        Page: 18   Date Filed: 01/18/2024




             CERTIFICATIONS OF ECF FILING STANDARDS

      Pursuant to paragraph A(6) of this Court’s ECF Filing Standards, I hereby

certify that (1) any required privacy redactions have been made, 5th Cir. R. 25.2.13;

and (2) the document has been scanned with the most recent version of a commercial

virus scanning program and is free of viruses.


                                       /s/ Frank C. Brame
                                       Counsel for Petitioners




                                          12
      Case: 23-60617     Document: 17-1         Page: 19   Date Filed: 01/18/2024




                             CERTIFICATE OF SERVICE
      I hereby certify that, on January 18, 2024, I caused true and accurate copies of

the foregoing Motion to be served by United States mail, upon counsel below, in

addition to filing via the Court’s CM/ECF document filing system:

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Office of the Controller of the Currency
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Washington, D.C. 20219


                                       /s/ Frank C. Brame
                                       Counsel for Petitioners




                                           13
     Case: 23-60617        Document: 17-1        Page: 20   Date Filed: 01/18/2024




                           CERTIFICATE OF COMPLIANCE
      I hereby certify that:

      1.     This Motion complies with the type-volume limitations of Federal

Rule of Appellate Procedure 27 because it contains 2360 words, as determined by

the word-count function of Microsoft Word, excluding the parts of the Petition

exempted by Federal Rule of Appellate Procedure 32(f).

      2.     This Motion complies with the type-face requirements and type-style

requirements of Federal Rule of Appellate Procedure 32(a)(5) and 32(a)(6) and

Fifth Circuit Rule 32.1 and 32.2 because it has been prepared in a proportionally

spaced typeface using Microsoft Word in Times New Roman 14-point font, with

12-point font footnotes.




                                       /s/ Frank C. Brame
                                       Counsel for Petitioners




                                            14
